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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                   v.                                 Case No. 21-mj-469 (RMM)

 BRIAN CHRISTOPHER MOCK,                              Chief Judge Beryl A. Howell

                  Defendant.




                                     TRANSPORT ORDER

       Having granted the government’s Motion for Emergency Stay and for Review of Release

Order, ECF No. 6, and ordered that the defendant Brian Christopher Mock be detained pretrial,

pursuant to 18 U.S.C. § 3142, it is hereby

       ORDERED that the United States Marshals Service transport the defendant forthwith

from the District of Minnesota to the District of Columbia for pretrial detention in this matter.

       SO ORDERED.

       DATE: June 29, 2021

                                                      __________________________
                                                      BERYL A. HOWELL
                                                      Chief Judge




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